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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS


LESLIE J. REYNARD                   )
                                    )
            Plaintiff,              )
                                    )                  Case No.
v.                                  )
                                    )
WASHBURN UNIVERSITY OF              )
TOPEKA                              )                  JURY TRIAL DEMANDED
                                    )
            Defendant,              )
                                    )
___________________________________ )


                                          COMPLAINT

       Plaintiff Leslie J. Reynard, and through counsel under Limited Scope Representation as

permitted pursuant to D. Kan. Rule 83.5.8, and alleges as follows for her cause of action against

Defendant Washburn University of Topeka (“Washburn”):

                                  NATURE OF THE CLAIM

       1. This action for legal and equitable relief arises under, and the jurisdiction of this

Court is invoked, pursuant to §706 of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e

– 3(a), Title VII, and the Civil Rights Act of 1991.

                                         THE PARTIES

       2. Plaintiff is a female citizen of the United States. At all times relevant herein she has

been employed by Defendant Washburn in Topeka, Kansas as a tenured full professor in the

Communications Department of the College of Arts and Sciences while teaching classes also in

some years in Defendant Washburn’s School of Business.

       3. Defendant Washburn is a municipal subdivision of the State of Kansas, is an



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institution of higher learning, and receives both Federal and State funding, and is responsible for

creating, adopting, and implementing the policies, practices, and customs regarding the rights and

duties of its employees, including the Plaintiff.

                                  JURISDICTION AND VENUE

        4. This court has jurisdiction over this case pursuant to 28 U.S.C. §1331.

        5. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) because all of the events

giving rise to Plaintiff’s claims occurred in this Judicial District.

                              ADMINISTRATIVE PROCEEDINGS

        6. On or about August 14, 2018, Plaintiff filed a timely Charge of Discrimination with the

U.S. Equal Employment Opportunity Commission regarding discrimination based on her sex or

gender and age.

        7. On or about November 15, 2018, Plaintiff filed a second timely Charge of

Discrimination with the EEOC raising, among other claims, retaliation under Title VII of the Civil

Rights Act of 1964, as amended.

        8. On or about November 20, 2018, the EEOC issued a right-to-sue notice for the

second charge, which Plaintiff received on or about November 24, 2018.

        9. This action is brought pursuant to the second charge and has been filed with this

Court within 90 days of Plaintiff’s receipt of her right-to-sue notice from the EEOC for the

second charge.

        10. The Plaintiff has satisfied all requirements to administratively exhaust the retaliation

claim brought in the second Charge of Discrimination.

                                    STATEMENT OF FACTS

        11. The Plaintiff began her employment at Washburn in August 2007.



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       12. Throughout the Plaintiff’s employment she has been a tenure-track or tenured

professor and received tenure in 2010.

       13. Throughout her employment the Plaintiff has taught courses in the Communication

Studies Department in Washburn’s College of Arts and Sciences.

       14. In August, 2015, the Plaintiff began to also teach a course in Washburn’s School of

Business.

       15. The Plaintiff continued to teach the course in the School of Business through the

Fall 2017 semester.

       16. Throughout her tenure at Washburn, Plaintiff had consistently received the highest

possible scores on her performance evaluations.

       17. In the Spring of 2018, Plaintiff again received the highest possible score on her

performance evaluation.

       18. In April, 2018 and on repeated occasions no later than August of 2018, Plaintiff

announced her intent to her Department Chair Mary Pilgram that she would be filing a Charge

with the EEOC against Washburn raising claims of sex discrimination under Title VII of the Civil

Rights Act, and violations of the Equal Pay Act, the Age Discrimination in Employment Act, and

the Americans with Disabilities Act. The Plaintiff eventually filed her first Charge of

Discrimination on August 14, 2018.

       19. On or about April 14, 2018, the Plaintiff submitted information to the EEOC for the

purpose of filing a Charge against the Defendant. On or about April 21, 2018, the Plaintiff,

thinking that the submission effected the filing of a Charge, informed Department Chair Pilgram

that she had filed a charge with the EEOC against Washburn.

       20. Between April and mid-May, 2018, Washburn, its employees and agents began



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soliciting negative comments from students about two courses that the Plaintiff was then teaching.

       21. Washburn did not solicit or record positive comments or comments from students

who spoke positively about the courses, but focused solely on five comments that could be used

against the Plaintiff. Washburn did not factor in the data from the student evaluation system,

known as the SIR-2, which rated the Plaintiff very high compared with national averages.

       22. On July 5, 2018, Department Chair, Mary Pilgrim, sent an email to the Plaintiff

telling her, “As you know, there have been some complaints about you that have been investigated.

Now we would like to meet with you to discuss the findings. Please let me know your availability

on these days: July 11, 12, 13 or July 16, 17, 18.”

       23. The Plaintiff responded to the email that same day saying, “I was not aware of any

complaints other than the baseless one by the student who did not want to do the semester

project. Can you tell me what these are specifically? Should issues such as these be managed

according to the process set out in the Faculty Handbook? Can you also tell me the specific

purpose and objectives of the proposed meeting? As you are aware, I have an EEOC filing in

progress, so it is likely that I would need to get legal counsel prior to scheduling a meeting

related to any alleged performance issues.”

       24. In early September, the Defendant placed the Plaintiff on a Performance

Improvement Plan (“PIP”), despite having never received anything but the highest possible

annual evaluation scores, including in the Spring of 2018.

       25. Viewing the PIP as a tool being used to try to terminate the Plaintiff her for

announcement that she intended to file an EEOC charge and the actual filing of it, the Plaintiff

refused to sign the PIP.

       26. The Plaintiff was stunned when she was then told by Dean of the College of Arts and



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Sciences Laura Stephenson while being coerced to sign the PIP, “You don’t have to agree with

it. You just have to sign it.”

        27. The Plaintiff did not agree with the claims in the PIP and refused to sign it. She

instead stated that she had always sought to meet the highest quality in her teaching and courses

and would continue to do so, and she was told that if she did so that she would satisfy the PIP.

        28. But the PIP has been used to create inordinate stress, hyper-scrutiny and nitpicking by

Washburn administrators to look for the smallest mistakes for which Plaintiff could be terminated

for failing to satisfy the PIP. And, this again, despite having always attained the highest evaluation

scores every year of teaching at Washburn prior to filing the EEOC charge.

        29. The Plaintiff also, for the first time, has been relieved of her responsibility and

authority for overseeing the enrollment of the graduate course she has been teaching since its

inception a few years ago. Those students now may only enroll with the prior approval from the

Department Chair who manages the entire process at her sole discretion.

        30. During the months following the imposition of the PIP, the Plaintiff’s mental and

physical health has been impacted negatively because of the needless and invasive conduct toward

her by Washburn.

                                       CAUSE OF ACTION

                                             COUNT I

                                  TITLE VII – RETALIATION

        31. The Plaintiff hereby incorporates by reference Paragraphs 1 through 30 above as

though fully set forth herein.

        32. The Plaintiff engaged in protected activity of reporting sex, gender and disability




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Discrimination, retaliation and Equal Pay Act violations and filing a Charge with the EEOC for

those same issues.

       33. A reasonable employee would be dissuaded from making or supporting a Charge of

Discrimination after announcing an intent to file a Charge, after filing a Charge and then being

placed on a Performance Improvement Plan after engaging in that protected activity.

       34. The Performance Improvement Plan was materially adverse to the Plaintiff.

       35. The Defendant retaliated against the Plaintiff for engaging in protected activity.

       36. There was a causal connection between the Plaintiff’s engaging in protected activity

and the retaliation in violation of 42 U.S.C. 2000e—3(a), Title VII.

       WHEREFORE, Plaintiff prays for judgment against the Defendant for back pay,

including wage increases and reimbursement of any lost fringe benefits, retirement plan benefits,

pension benefits, Social Security contributions, an award of front pay, emotional pain and

suffering, mental anguish, inconvenience, loss of enjoyment of life, reimbursement of past and

future medical expenses, punitive damages, pre- and post-judgment interest, for her reasonable

attorneys’ and expert fees, and for litigation costs, all in excess of $75,000 and for such other and

further relief as the Court may deem just and reasonable.

                                  JURY TRIAL DEMANDED

       Plaintiff respectfully requests that the issues in this matter be heard by a jury.

                           DESIGNATION OF PLACE OF TRIAL

       Plaintiff hereby designates Topeka, Kansas as the place of trial of this matter.



                                      Respectfully submitted,




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